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                                                                                   FILED
                                                                            U .S . REST. COURT
                    IN THE UNITED STATES DISTRICT COURT                     BRUNSWICK DIV .
                   FOR THE SOUTHERN DISTRICT OF GEORGI A
                             WAYCROSS DIVISIO N
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UNITED STATES OF AMERIC A                                                        D, S T. C

      vs .                                            CASE NUMBER . : CR592-2 9

LESTER BELL



                                       ORDE R

      Defendant Bell has filed a "Motion to Hold Filing Deadline Under 28 U .S .C . § 2255

¶ 6 (3) in Abeyance Pending The Supreme Court's Ruling in Dodd v . United States ." (Doc.

859 .) The Government has filed a response . For the reasons stated in the Government's

response, Bell's motion is DENIED .

      SO ORDERED , this      r day of July, 2005.




                                         JUDGE, UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF GEORGIA
